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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION

TETRONICS (INTERNATIONAL)   *
LIMITED                     *
                  PLAINTIFF *
                            *
V.                          *                    CASE NO. 4:20CV00530 SWW
                            *
                            *
BLUEOAK ARKANSAS LLC        *
                 DEFENDANT *
                            *
                            *

                                     JUDGMENT

      Consistent with the Order that was entered on this day, it is CONSIDERED,

ORDERED, and ADJUDGED that default judgment is entered in favor of Plaintiff

Tetronics (International) Limited.

      IT IS FURTHER ordered that the final arbitral award issued on April 17,

2020 by the International Court of Arbitration of the International Chamber of

Commerce in arbitration case number 23366/MK, see Complaint, Ex. A, is

CONFIRMED pursuant to the Federal Arbitration Act, 9 U.S.C. § 207.

      IT IS FURTHER ORDERED that, in accordance with final arbitral award,

judgment is granted in favor of Plaintiff Tetronics (International) Limited in the

following amounts:




                                          1
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      1. Defendant BlueOak Arkansas LLC is ordered to pay Tetronics the sum of

£2,111,392 as damages for breach of contract.

      2. BlueOak is ordered to pay to Tetronics the sum of £3,080,000 as

damages for a wrongful draw on a bond.

      3. BlueOak is ordered to pay to Tetronics pre-award interest in the

amount of £503,810.

      4. BlueOak (jointly with affiliate BlueOak Resources) is ordered to

pay Tetronics $850,000 (USD) for legal and other costs.

      5. BlueOak (jointly with affiliate BlueOak Resources) is ordered to

pay Tetronics $141,100 (USD) for arbitration costs and fees.

      IT IS SO ODERED THIS 28th DAY OF SEPTEMBER, 2020.

                                      /s/Susan Webber Wright
                                      UNITED STATES DISTRICT JUDGE




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